       Case 3:16-cr-02383-JLS               Document 59            Filed 02/22/17            PageID.135        Page 1 of 2
AO 245B (CASDRev. 08/13) Judgment in a Criminal Case

                                  United States District Court                                                 ^
                                        SOUTHERN DISTRICT OF CALIFORNIA                                            M      L

             UNITED STATES OF AMERICA                               JUDGMENT IN A
                        V.                                          (For Offenses Committed Orim After November 1, 1^87)
            ALAYN ROMERO-MENDOZA (2)
                                                                       Case Number:         16CR2383 -JLS

                                                                    Brian P. Funk
                                                                    Defendant’s Attorney
REGISTRATION NO.               57885298

□-
M pleaded guilty to count(s)        2 of the Information

□ was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                      Count
Title & Section                  Nature of Offense                                                                  Number(s)
8 USC 1324(a)(2)(B)(iii)         Bringing in illegal aliens without presentation                                        1




    The defendant is sentenced as provided in pages 2 through     ___         2            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on count(s)
□ Count(s)                                                    is          dismissed on the motion of the United States.

      Assessment: $100.00 waived



[XI No fine                □ Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant’s economic circumstances.

                                                                    February 17. 2017
                                                                    Date of Imposition of Sentence,


                                                                      ON. JANIS L. SAMMARTINO
                                                                      fNITED STATES DISTRICT JUDGE




                                                                                                                    16CR2383-JLS
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DEFENDANT:                ALAYN ROMERO-MENDOZA (2)                                                 Judgment - Page 2 of 2
CASE NUMBER:              16CR2383-JLS

                                                IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 Time Served




 □     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 □     The court makes the following recommendations to the Bureau of Prisons:




       The defendant is remanded to the custody of the United States Marshal.
 □
       The defendant shall surrender to the United States Marshal for this district:
 □
       □ at                                 A.M.              on
       □     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 □     Prisons:
       □     on or before
       □     as notified by the United States Marshal.
       □     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on                                            to


 at                                        , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



                                                                                                        16CR2383-JLS
